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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

KEITH A. DZIERZANOWSKI and                       §
HOLLY M. DZIERZANOWSKI,                          §
                                                 §
               Plaintiffs,                       §
                                                 §
V.                                               §            1-15-CV-176 RP
                                                 §
STATE FARM LLOYDS,                               §
                                                 §
               Defendant.                        §


                                        FINAL JUDGMENT

        Before the Court is the above entitled cause of action. On this day, the Court entered an

order granting the parties’ joint Stipulation of Dismissal. Having granted the stipulation, the Court

enters the following Final Judgment pursuant to Federal Rule of Civil Procedure 58.

        IT IS HEREBY ORDERED all claims and causes of action asserted by the parties in this

action are hereby DISMISSED WITHOUT PREJUDICE. Each party is to bear its own costs and

fees.

        IT IS FURTHER ORDERED that all pending motions are hereby TERMINATED.

        IT IS FURTHER ORDERED that all relief not expressly granted is hereby DENIED.

        IT IS FINALLY ORDERED that the case is hereby CLOSED.

        SIGNED on June 1, 2015.




                                             ROBERT L. PITMAN
                                             UNITED STATES DISTRICT JUDGE
